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BRIAN RUSSELL TUCKER,
Plaintiff,
v. Cv. No. 04-2652-Ma
PERKINS I'IOTEL PARTNERS, L.P., et al.,
Defendants.
J'UDGMENT
Decision. by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
without prejudice, in accordance with the Order of Dismissal,
docketed May 18, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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By) DEYUTY cLERK

 

 

DATE

This document entered on the docket she-si in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02652 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

Joscph H. Crabtrcc
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Honorablc Samucl Mays
US DISTRICT COURT

